
In re Atofina Petrochemicals Inc. et al.; Kerr-McGee Oil &amp; Gas Corp.; Shell Oil Co.; Shell Offshore Inc.; SWEPI LP; Amerada Hess Corp.; Chevron U.S.A. Inc.; Texaco Inc.; Amoco Production Co.; BP America Production Co.; Arco Oil &amp; Gas Co.; Conoco Phillips Co.; EOG Resources Inc.; Louisiana Land &amp; Exploration Co. (LL &amp; E); Marathon Oil Co.; Union Oil Co. of California (UNOCAL); Oxy U.S.A. Inc.; Placid Oil Co.; Sexton Oil &amp; Mineral Corp.; — Defendant(s); Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. I, No. 01-16872; to the Court of Appeal, Fourth Circuit, No. 2003-C-1001.
Denied.
